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USDC SDNY
DOCUMENT
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      October 20, 2020



      VIA ECF                                              MEMORANDUM ENDORSED
      Honorable Gregory H. Woods
      Daniel Patrick Moynihan United States Courthouse
      500 Pearl Street
      New York, NY 10007

      Re:      Yeremis v. Amerit Fleet Solutions, et al.
               Case No. 1:20-cv-04723-GHW

      Defendant Amerit Fleet Solutions Inc.'s Request for Extension of Time to Respond to the
      Complaint; Request for Adjournment of Initial Pretrial Conference; Request for
      Adjournment of Order to Show Cause

      Dear Judge Woods:

      We represent Defendant Amerit Fleet Solutions Inc. (sued as Amerit Fleet Solutions) (“AFS”) in
      the above-referenced action. My colleagues, Heather M. Sager and Brittany A. Sachs, will be
      moving for orders for admission to practice Pro Hac Vice to appear as counsel for AFS.
      Pursuant to Rule 1(E) of the Court’s Individual Rules of Practice in Civil Cases, AFS requests
      the following: (1) a brief extension of time until November 18, 2020 to respond to the
      Complaint; (2) an adjournment of the October 22, 2020 initial pretrial conference until on or
      after November 25, 2020; and (3) an adjournment of the hearing on the Order to Show Cause,
      which is currently set for October 22, 2020, until on or after November 25, 2020, to give AFS an
      opportunity to respond to Plaintiff’s Motion for the Order to Show Cause (“Plaintiff’s Motion”).
      This is the first request AFS has filed for an extension of time in this matter.

      I.       Request for Extension to of Time to Respond to the Complaint.

      Based on information and belief, our client very recently learned that the Summons and
      Complaint in this Action were served on its agent for service of process. In connection with our
      retention, and to provide our office the opportunity to investigate the allegations in the
      Complaint, we request an extension of time to respond to the Complaint until November 18,
      2020 (which includes responding by way of a request for a pre-motion conference). Of note and
      relevance, we believe that Plaintiff executed a Mutual Agreement to Arbitrate Claims in


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connection with his employment with AFS and, if true, we plan to file a request for a pre-motion
conference in anticipation of a motion to compel arbitration and to dismiss Plaintiff’s lawsuit
pursuant to Section 4 of the Federal Arbitration Act and Federal Rule of Civil Procedure
12(b)(1). If this request is not granted, AFS respectfully reserves the right to request a pre-
motion conference for a motion to dismiss on other grounds as well. On October 19, 2020, we e-
mailed Plaintiff’s counsel to request a 30-day extension of time to respond to the Complaint. On
October 20, 2020, Plaintiff’s counsel consented to our request for a 30-day extension subject to
the Court’s approval.

II.   Request for Adjournment of the October 22, 2020 Initial Pretrial Conference Until
on or After November 25, 2020.

Because we are presently investigating the allegations in the Complaint, we request an
adjournment of the October 22, 2020 Initial Pretrial Conference until on or after November 25,
2020. This extension will give AFS an opportunity to investigate Plaintiff’s allegations, an
opportunity to file a request for a pre-motion conference, and also provide an opportunity for
AFS to meet and confer with the other parties to this matter. Further, we do not believe we will
have enough time to meet and confer with the other parties and submit a joint proposed case
management plan to Chambers by October 21, 2020, as ordered by the Court (See Doc. No. 33).
Accordingly, we respectfully request that the Court adjourn the current conference until on or
after November 25, 2020, with an order that the Parties submit a joint proposed case
management plan by November 18, 2020. On October 20, 2020, we e-mailed Plaintiff’s counsel
regarding our request; however, as of the time of this filing, we have not received a response. In
order to submit this request forthwith, we have not had an opportunity to confer with the other
parties regarding this request.

In addition to the above, we have just learned Plaintiff appears to have filed another case seeking
almost identical relief in the Southern District of New York, Case No.: 1:20-cv-05086-AJN. We
are investigating the circumstances of the other case and also investigating whether our client has
been properly served. We think this also warrants adjourning the initial pretrial conference.

III.     Request for Adjournment of the October 22, 2020 Order to Show Cause Hearing
         Until on or After November 25, 2020.

For the reasons cited above, we respectfully request that the Court adjourn the hearing on the
Order to Show Cause that is currently scheduled for October 22, 2020 until on or after November
25, 2020. Our client just learned about Plaintiff’s Motion and we have not had an opportunity to
investigate the allegations. As such, we request that AFS be given until at least November 18,
2020 to respond to and/or oppose Plaintiff’s Motion. As mentioned above, on October 20, 2020,
we e-mailed Plaintiff’s counsel regarding our request; however, as of the time of this filing, we
have not received a response.


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     Pursuant to Rule 1(E) of this Court’s Rules, a Proposed Revised Civil Case Management Plan
     and Scheduling Order is attached to this Request. Thank you for your consideration.


     Very truly yours,

     /s/ Dennis Hopkins
     Dennis Hopkins

     DCH:jp

     cc: All Counsel of Record (via ECF) [Not all counsel has yet appeared.]




Application is granted in part. The deadline for Defendant Amerit Fleet Solutions to answer or otherwise
respond to the Complaint is extended to November 18, 2020. The initial pretrial conference will be held
on December 1, 2020 at 4:00 p.m. The joint status letter and proposed case management plan are due no
later than November 24, 2020.

However, the Court will hold the conference scheduled for October 22, 2020 as planned. The Court will
address the order to show case dated October 1, 2020, Dkt. No. 27, and Defendant City of New York
Police Department's proposed motion to dismiss, Dkt. No. 32.
SO ORDERED.
                                                           _____________________________________
Dated: October 20, 2020                                          GREGORY H. WOODS
                                                                United States District Judge




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